Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 1 of 26 PageID #: 1




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
_______________________________________

PETER LAKE, On Behalf of Himself
and All Others Similarly Situated,

                                                     Civil Case No.
                   Plaintiff,
                                                     JURY TRIAL DEMANDED
      -against-

FORD MOTOR COMPANY,

                  Defendant
________________________________________


                         CLASS ACTION COMPLAINT

      Plaintiff Peter Lake (“LAKE”), on behalf of himself and all other persons

similarly situated brings this action against defendant, FORD MOTOR COMPANY

(“FORD”) and to the best of his personal knowledge, information and belief, formed

after an inquiry reasonable under the circumstances, alleges as follows:

                          NATURE OF THE ACTION

      1.     This case arises from FORD’s sale and lease of over 32,000 Ford

Explorer models that are specifically sold annually to state agencies, counties,

towns and municipalities throughout the US that are modified for law enforcement.

These models are classified as Police Interceptor Vehicles and used by Police

Departments and law enforcement agencies as marked police vehicles. FORD knew

or should have known that these Explorer models, manufactured from 2010 through

2017 are dangerous and defective for operators and passengers such that exhaust
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 2 of 26 PageID #: 2




and other gases, including lethal quantities of carbon monoxide, may enter the

passenger compartments of the vehicles. The potential exposure to carbon

monoxide renders these vehicles unsafe to drive. Indeed, FORD has acknowledged

a problem with the Explorers that are modified for police and law enforcement use

but has failed to remedy the leaks that permit dangerous fumes from entering the

cabins of these vehicles.

      2.     FORD’s Technical Service Bulletin 12-12-4 titled “Explorer Exhaust

Odor in Vehicle,” acknowledges that “[s]ome 2011-2013 Explorer vehicles may

exhibit an exhaust odor in the vehicle with the auxiliary climate control system on.

Customers may indicate the odor smells like sulfur.” FORD’s TSB 12-12-4 provides

instructions that FORD claims will correct the exhaust odor in 2011 through 2013

model year Ford Explorers.

      3.     Subsequent to TSB 12-12-4, FORD issued Technical Service Bulletin

14-0130 (“TSB 14-0130”).

      4.     Titled “Exhaust Odor in Vehicle,” TSB 14-0130 also acknowledges an

exhaust odor in Explorer vehicles and adds the 2014 and 2015 models’ year

Explorers to the list of affected vehicles. TSB 14-0130 includes the same or similar

service procedures outlined in TSB 12-12-4, and adds certain procedures not

included in TSB 12-12-4.

      5.     FORD’s TSB’s 12-12-4 and 14-0130 however, do not correct the

condition, and they fail to acknowledge that carbon monoxide may enter the

passenger compartment of affected vehicles. Moreover, upon information and belief,

                                         -2-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 3 of 26 PageID #: 3




the problem in police equipped Ford Explorers is even more prevalent. FORD’s

TSBs 12-12-4 and 14-0130 are provided to authorized dealerships, and do not

directly notify non-Ford automotive repair facilities or law enforcement personnel

about the defects associated with TSBs 12-12-4 and 14-0130. Further, although

FORD has received numerous complaints relating to exhaust entering the

passenger compartments of 2011 through 2015 model year Ford Explorers, and it

developed a purported fix to the problem, FORD provided no notice to plaintiff or

the proposed class members about the defect and the potential exposure to lethal

carbon monoxide in 2011 through 2015 model year Ford Explorers.

      6.     Upon information and belief, the problem with the 2015 model year

Ford Explorers continued to 2016 and 2017 models, which continue to allow

dangerous and potentially lethal fumes to enter the passenger cabins of these

vehicles. FORD has sold or leased approximately 32,000 of these Explorers

modified for law enforcement use nationwide since 2011. Each such vehicle was

sold or leased in a dangerous and defective condition because each such vehicle

contains design flaws, and/or an exhaust and/or HVAC system that permit exhaust

and other gases, including carbon monoxide, to enter the passenger compartment

during the normal and customary use of such vehicles.

      7.     FORD designed, manufactured, sold and leased the 2011 through 2017

model year Ford Explorers when it knew or should have known of such defects, or

FORD otherwise learned of such defects and failed to notify plaintiff and the

proposed class members of the defect in the 2011 through 2017 model year Ford

                                         -3-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 4 of 26 PageID #: 4




Explorers that exposed plaintiff, the proposed class member, and others, to a life

safety hazard.

       8.    Plaintiff and the members of proposed class reasonably expect to

operate their Ford Explorer vehicles in a normal and customary manner free from

exposure to potentially deadly gases. Moreover, as the proposed class encompasses

law enforcement personnel, FORD is aware that these vehicles in particular may be

subject to sudden acceleration and vigorous driving.

                          JURISDICTION AND VENUE

       9.    This Court has diversity jurisdiction over this action under 28 U.S.C. §

1332(d) because the amount in controversy for the class exceeds $5,000,000,

exclusive of interest and costs, there are more than 100 class members, and more

than two-thirds of the class is diverse from FORD.

       10.   The Court has personal jurisdiction over FORD because FORD

conducts substantial business in this District, and some of the actions giving rise to

this complaint took place in Nassau County, New York.

       11.   Venue is proper in this District under 28 U.S.C. § 1391(a) because,

among other things, a substantial part of the events or omissions giving rise to the

claims occurred in this District and caused harm to class members residing in this

District.

                                       PARTIES

       12.   Plaintiff, Peter LAKE, is a resident of Suffolk County, New York, and

lives and resides within this judicial district.

                                           -4-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 5 of 26 PageID #: 5




      13.    FORD is a Delaware corporation with its principal place of business in

Michigan. In this Complaint, “FORD” refers to the named defendant and all

related, successor, predecessor and subsidiary entities to which these allegations

pertain.

                PLAINTIFF’S INDIVIDIUAL ALLEGATIONS

      14.    In or prior to December of 2017, LAKE was assigned to drive and

operate a 2016 Ford Explorer by Nassau County Police Department (“the

Department.”) As part of the fleet of police vehicles of the Department this vehicle

was car number 21 and was known as a Radio Motor Patrol or “RMP.”

      15.    The 2016 Ford Explorer driven by LAKE through the auspices of the

Department was one of approximately 120 Ford Explorers owned and purchased by

the Department. Upon information and belief, all of these Ford Explorers were

dangerous and defective when purchased because of their design and exhaust

and/or HVAC systems permitted an exhaust odor, exhaust and other gases,

including carbon monoxide, to enter the passenger compartment of these RMPs.

The defect is latent in nature because it is not obvious or ascertainable upon

reasonable examination or inspection.

      16.    At the time of the purchase, neither the Department nor LAKE were

notified that the 2016 Ford Explorers that were bought were defective, nor was he

notified that he and all occupants, including other police officers would be exposed

to lethal carbon monoxide and other potentially dangerous gases while driving the

2016 Ford Explorer RMP during routine police duties.

                                         -5-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 6 of 26 PageID #: 6




      17.    Following an incident with carbon monoxide in the cabin of a RMP in

or around August of 2017, the Department in or around December of 2017 gave

police officers carbon monoxide detectors for use in Ford Explorers in their fleet.

These monitors would routinely go off and the police officers were advised to contact

their supervisors when the alarms would sound.

      18. On February 19, 2018 at approximately 11:50 a.m. LAKE was involved in

a motor vehicle accident as a result of dangerous levels of carbon monoxide in the

cabin of his assigned Ford Explorer. The hospital noted elevated levels of carbon

monoxide in his blood. LAKE’s personal injury claims are specifically excluded from

this class action complaint.

      19.    Upon information and belief, the Department notified FORD of the

problem with the Ford Explorers in its fleet and FORD has failed to remedy and

correct them. As of February 27, 2018, the Police Union has continued to question

the Department of the status of the repairs on these vehicles, because the carbon

monoxide monitors and alarms have continued to go off, indicating unsafe levels of

carbon monoxide in the cabins of these RMPs.

      20.    The authorized Ford Fleet Representative for the Department has

failed to fix the problem on behalf of the Department, which continues to subject

police officers to dangerous fumes.

      21.    Carbon monoxide is a colorless, odorless and tasteless gas that is toxic

to humans.



                                          -6-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 7 of 26 PageID #: 7




      22.    LAKE remains a driver/operator of a 2016 Ford Explorer and he,

together with other similarly situated law enforcement personnel, are subjected to

an ongoing nefarious danger with carbon monoxide exposure while driving these

vehicles, as part of his job duties with the Department.

      23.    To date, LAKE has been forced by the Department to continue driving

a dangerous vehicle, designed, manufactured and sold by FORD.

      24.    To date, FORD has not repaired the Department’s 2016 Ford

Explorers, nor has FORD acknowledged to plaintiff or the members of the proposed

class or the county, municipal or state owners of these law enforcement modified

Ford Explorers that the 2011 through 2017 model years contain design flaws and/or

defective exhaust and/or HVAC systems permitting lethal carbon monoxide and

other potentially dangerous gases into the passenger compartments of these

vehicles

                           GENERAL ALLEGATIONS

                   FORD Sold and Leased Dangerous and
                   Defective Vehicles to Law Enforcement

      25.    FORD began selling and leasing a new generation of Ford Explorers –

considered the fifth generation of Explorer vehicles – with the 2011 model year Ford

Explorer.

      26.    The subsequent model year Ford Explorers are not dramatically

different in design from the 2011 model year Ford Explorer, and the Explorers sold

today are considered part of the “fifth generation” of Ford Explorer vehicles.


                                          -7-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 8 of 26 PageID #: 8




      27.    The 2011 through 2017 model year Ford Explorers were designed,

engineered and manufactured by FORD with design flaws and/or defective exhaust

and/or HVAC systems that, especially with the police modifications, permit carbon

monoxide and exhaust to enter into the passenger compartments of those vehicles

while being driven in a normal and customary manner for law enforcement

personnel.

      28.    FORD designed, manufactured, assembled, inspected, distributed, sold

and leased the 2011 through 2017 model year Ford Explorers in a manner so as to

render the subject vehicles defective and unsafe for their intended use and purpose

by, among other things:

             (a) Designing the vehicles such that exhaust and other gases, including
             carbon monoxide, may enter the passenger compartments of the
             vehicles;

             (b) Designing the bumpers and/or tailpipes on the vehicles such that
             exhaust and other gases, including carbon monoxide, may accumulate
             behind the bumper and within the interior and exterior panels,
             allowing those gases to permeate the passenger compartments of the
             vehicles;

             (c) Designing, manufacturing and assembling the vehicles using
             defective rear air extractors which permit exhaust and other gases,
             including carbon monoxide, to enter the passenger compartments of
             the vehicles;

             (d) Designing, manufacturing and assembling the liftgates in the rear
             of the vehicles using defective drain valves, which permit exhaust and
             other gases, including carbon monoxide, to enter the passenger
             compartments of the vehicles;

             (e) Designing, manufacturing and assembling the vehicles with sheet
             metal panels and overlaps which permit exhaust and other gases,


                                        -8-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 9 of 26 PageID #: 9




             including carbon monoxide, to enter the passenger compartments of
             the vehicles;

             (f) Designing, manufacturing and assembling the vehicles with joints
             and seams which permit exhaust and other gases, including carbon
             monoxide, to enter the passenger compartments of the vehicles which
             is even a greater problem in police modified vehicles; and

             (g) Designing, manufacturing and assembling the vehicles with rear
             auxiliary air conditioning system parts which are defectively designed
             and/or located too close in proximity to the driver side rear air
             extractor, such that exhaust and other gases, including carbon
             monoxide, may enter the auxiliary air conditioning system and the
             passenger compartments of the vehicles.


      29.    FORD knew or should have known that the 2011 through 2017 model

year Ford Explorers were dangerous and defective such that drivers and passengers

of those vehicles and specifically the ones modified for police use may be exposed to

carbon monoxide and other dangerous gases while the vehicles are in operation.

      30.    The defective vehicles were sold or leased pursuant to express and

implied warranties. These warranties assured consumers that the vehicles were

free from defect and were properly equipped for the use for which they were

intended. At the time the defective vehicles were sold or leased by FORD directly

and through its authorized agents, the vehicles were in violation of express and

implied warranties. All of the defective vehicles are still within the dates of the

express written warranties, or the time or mileage limits in the express warranties

should be inapplicable given FORD’s fraudulent conduct, among other things.

      31.    In promoting, selling and repairing its defective vehicles that are

delivered to law enforcement personnel, FORD acts, upon information and belief,

                                          -9-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 10 of 26 PageID #: 10




through fleet representatives as well as through numerous authorized dealers who

act, and represent themselves to the public, as exclusive FORD representatives and

agents. The fleet representatives and dealers act as FORD’s agents and FORD

enters into agreements with the law enforcement agencies through the fleet

representatives and dealers. FORD directs its authorized fleet representatives and

dealers to respond to complaints and inquiries concerning defective vehicles.

      32.    FORD’s control over the actions of its fleet representatives and dealers

is also evidenced by its implementation of the company’s express and implied

warranties as they relate to the defects alleged herein. Authorized FORD

dealerships are instructed by FORD to address complaints of an exhaust odor by

prescribing and implementing TSBs 12-12-4 and 14-0130.

                FORD Acknowledged the Subject Vehicles’
             Defective Condition in TSBs 12-12-4 and 14-0130

      33.    In response to customer complaints of an exhaust odor in the

passenger compartments of the subject vehicles, FORD issued TSB 12-12-4 in or

about December 2012. TSB 12-12-4 was intended to provide instructions to

authorized FORD dealerships to correct the presence of an exhaust odor in 2011

through 2013 model year Ford Explorers.

      34.    In or about July 2014, FORD issued TSB 14-0130, which added 2014

and 2015 model year Ford Explorers to the list of affected vehicles. TSB 14-0130

was intended to provide instructions to authorized FORD dealerships to correct the

presence of an exhaust odor in 2011 through 2015 model year Ford Explorers.


                                        -10-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 11 of 26 PageID #: 11




      35.    Notwithstanding the issuance of TSBs 12-12-4 and 14-0130, FORD did

not inform plaintiff or the members of the proposed class of the defects in 2011

through 2017 model year Ford Explorers, despite the fact that those defects

presented life safety issues to occupants of the vehicles.

      36.    Notably, TSBs 12-12-4 and 14-0130 fail to disclose that the exhaust

odor acknowledged therein is accompanied in the passenger compartment by lethal

carbon monoxide.

      37.    At all material times, FORD has failed to inform law enforcement

agencies and personnel who are the end users of the 2011 through 2017 model year

Ford Explorers that they are unsafe for operation or that they were designed,

engineered and manufactured such that exhaust and other gases, including carbon

monoxide, may enter the passenger compartments of such vehicles.

      38.    In addition, TSBs 12-12-4 and 14-0130 do not identify a specific fix to

the exhaust odor problem. Rather TSBs 12-12-4 and 14-0130 require various

replacements and/or repairs to several unrelated vehicle parts. This demonstrates

that FORD knew of the defect, but did not know of a specific, effective fix to protect

occupants of the 2011 through 2017 model year Ford Explorers from exhaust and

other gases, including carbon monoxide. Based upon information and belief, Ford

issued TSBs 12-12-4 and 14-0130 hoping, but not knowing, that any one of the

various replacements and/or repairs identified therein would remedy the exhaust

odor complaints.



                                          -11-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 12 of 26 PageID #: 12




                      FORD’s TSBs 12-12-4 and 14-0130
                         Fail to Repair the Defects

      39.    FORD’s TSBs 12-12-4 and 14-0130 fail to repair the exhaust odor

problem, and vehicles which have received the repairs outlined in TSBs 12-12-4 and

14-0130 may continue to have exhaust and other gases, including carbon monoxide,

enter the passenger compartment.

      40.    TSBs 12-12-4 and 14-0130 identify flaws in the initial design and

manufacture of the 2011 through 2017 model year Ford Explorer and prescribe

repairs and/or replacements which are inadequate and equally flawed and defective.

      41.    In TSBs 12-12-4 and 14-0130, FORD requires installation or use of the

following replacement parts in the subject vehicles, among others: (i) a dual rate air

extractor (part number BB5Z-61280B62-A under TSV 12-12-4 and part number

BB5Z-61280B62-B under TSB 14-0130); (ii) valve assembly auto drains (part

number 4M8Z-54280B62-A); and (iii) Motorcraft © Seam sealer (part number TA-2).

      42.    TSBs 12-12-4 and 14-0130 require that the dual rate air extractor

replace the driver side rear air extractor initially on the subject vehicle. The rear

air extractor initially installed on the subject vehicle was dangerous and defective

because it permitted exhaust and other gases, including carbon monoxide, to

permeate the exterior panels of the subject vehicles and enter the passenger

compartment. Based upon information and belief, FORD requires the replacement

of the driver side air extractor, and not the passenger side rear extractor, because

the air intake from the auxiliary air condition system is situated dangerously close


                                          -12-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 13 of 26 PageID #: 13




in proximity to the driver side rear air extractor. The placement of the air intake

system too close to the rear air extractor allows exhaust and other gases, including

carbon monoxide, to enter the auxiliary air condition system.

      43.    The replacement part – a dual rate air extractor – is formed of

polypropylene and overmolded with thermoplastic elastomer (TPE). The dual rate

air extractor includes “living hinges” and plastic torsional springs that are meant to

function as a one-way pneumatic valve.

      44.    The dual rate air extractor has a listed purchase price of $86.33,

whereas the initially installed air extractor has a listed purchase price of $22.50.

However, the dual rate air extractor fails to prevent exhaust and other gases,

including carbon monoxide, from entering the auxiliary air condition systems and

the passenger compartments of the subject vehicles. The replacement dual rate air

extractors are therefore ineffective, dangerous and defective.

      45.    In addition, FORD modified the dual rate air extractors used as

replacement parts per TSBs 12-12-4 and 14-0130, by haphazardly adding a silicone-

like white substance to the uppermost of the three “living hinges.” Based upon

information and belief, the silicone-like white substance found on replacement part

number BB5Z-61280B62-A is not included, and was not meant to be included, as

part of the dual rate air extractor as designed by its manufacturer. Moreover, the

silicone-like white substance added by FORD to the dual rate air extractor causes

the “living hinges” to remain open, permitting exhaust and other gases to permeate

the exterior panels of the vehicles, and enter the passenger compartment.

                                         -13-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 14 of 26 PageID #: 14




      46.    FORD designed, manufactured and engineered the 2011 through 2017

model year Ford Explorers using valve assembly auto drains on the rear liftgate of

the vehicles which are dangerous and defective because the parts permit exhaust

and other gases, including carbon monoxide, to enter the passenger compartment.

The replacement valve assembly auto drains fail to prevent exhaust and other

gases, including carbon monoxide, from entering the passenger compartment, and

thus, they are ineffective, dangerous and defective.

      47.    FORD designed, manufactured, engineered and assembled the 2011

through 2017 model year Ford Explorers without properly sealing the horizontal

sheet metal lap joints on the left and right sides of the underbody of the subject

vehicles. FORD additionally designed, manufactured, engineered and assembled

the 2011 through 2017 model year Ford Explorers without properly sealing the rear

sheet metal overlap flange across the rear of the vehicle, and the auxiliary air

conditioning lines. Accordingly, TSBs 12-12-4 and 14-0130 require that the

foregoing joints, flange and lines be sprayed with “generous amounts” of rubberized

undercoating, and seam sealer. However, the rubberized undercoating and seam

sealer fail to prevent exhaust and other gases, including carbon monoxide, from

entering the passenger compartment.

      48.    TSB 14-0130 additionally requires the reprogramming of the HVAC

module to the latest calibration. Reprogramming the HVAC module, however, fails

to prevent exhaust and other gases, including carbon monoxide, from entering the

passenger compartment.

                                         -14-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 15 of 26 PageID #: 15




               FORD’s Conduct and/or Inaction Has Damaged
                Plaintiff and Members of the Proposed Class

      49.    Plaintiff and each member of the proposed class has been damaged by

FORD’s conduct and/or inaction, as they have been exposed to harmful carbon

monoxide and exhaust, they unknowingly drive or are passengers in defective

vehicles which cannot be safely operated. They are exposed to unwanted and

harmful fumes and risk their safety when operating or driving in these vehicles.

                       CLASS ACTION ALLEGATIONS

      50.    Plaintiff brings this action pursuant to Federal Rule of Civil Procedure

23 on behalf of himself and the members of a proposed Class. The requirements of

Rule 23(a), (b)(2) and (b)(3) are each met with respect to the classes defined below.

      51.    Plaintiff seeks to represent the following class:

             All persons who formerly or currently operate or drive at least one of
             the following vehicles, that has been modified by FORD, for police use:

             2011 Ford Explorer, 2012 Ford Explorer, 2013 Ford Explorer, 2014
             Ford Explorer, 2015 Ford Explorer, 2016 Ford Explorer and/or 2017
             Ford Explorer.

      52.    Numerosity. Members of the class are so numerous that individual

joinder of all members is impracticable. Based upon information and belief, on an

annual basis, FORD has sold approximately 32,000 of these vehicles modified for

police use. All of these Ford Explorers are covered by TSBs 12-12-4 and 14-0130

and contain a defect that may cause carbon monoxide or exhaust to enter the

passenger compartments of such vehicles.



                                         -15-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 16 of 26 PageID #: 16




      53.    Existence of Common Questions of Law and Fact. Common questions

of law and fact exist as to all members of the class. These include, but are not

limited to: whether the 2011 through 2017 model year Ford Explorers have been

sold or leased subject to express and/or implied warranties; whether each 2011

through 2017 model year Ford Explorer is defective such that carbon monoxide and

exhaust may enter the passenger compartments of such vehicles; whether the 2011

through 2017 model year Ford Explorers modified for police use suffer from a design

defect, are unreasonable, dangerous and/or are unfit for their intended use;

whether FORD has knowledge of such defect; when FORD learned of such defect;

whether FORD failed to disclose the defect to plaintiff and the class; whether FORD

misrepresented that the affected vehicles were safe; whether Ford has a fix to the

defect and, if so, how much the fix will cost; whether FORD’S express warranties

cover the latent defects; whether FORD breached its warranties made to plaintiff

and the class; whether FORD negligently designed/engineered/manufactured the

affected vehicles; whether FORD concealed the defect; and whether plaintiff and

the class have suffered damages as a result of the conduct alleged, and if so, the

measure of such damage including properly repairing and sealing the vehicles to

protect the occupants from carbon monoxide.

      54.    Typicality. The claims of the plaintiff are typical of the claims of the

class, as plaintiff and members of the class are law enforcement personnel who are

end users in that they are operators or passengers of these vehicles and have been

harmed in some manner by FORD’s conduct.

                                         -16-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 17 of 26 PageID #: 17




       55.    Adequacy. Plaintiff will fairly and adequately protect the interests of

the class. Plaintiff’s interests do not conflict with the interests of the members of

the class. Further, plaintiff has retained counsel competent and experienced in

complex class action litigation. Plaintiff and his counsel are committed to

vigorously prosecuting this action.

       56.    Predominance and Superiority. A class action is superior to other

available methods for the fair and equitable adjudication of the controversy, since

joinder of all the individual class members is impracticable. Questions of law and

fact common to the members of the class predominate over any questions affecting

only individual members. Likewise, because the damages suffered by each

individual class member may be relatively small, the expense and burden of

individual members to redress the wrongs done to each of them individually, and

the burden imposed on the judicial system would be enormous.

       57.    The prosecution of separate actions by the individual class members

would also create a risk of inconsistent or varying adjudications for individual class

members, which would establish incompatible standards of conduct for FORD. The

conduct of this action as a class action presents far fewer management difficulties,

conserves judicial resources and the parties’ resources, and protects the rights of

each class member. Further, plaintiff anticipates no difficulty in the management

of this litigation as a class action.

       58.    For all the foregoing reasons, a class action is superior to other

available methods for the fair and efficient adjudication of this controversy.

                                          -17-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 18 of 26 PageID #: 18




                            COUNT 1
       VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT
                    (15 U.S.C. § 2301, et seq. )

      59.    Plaintiff repeats and re-alleges the allegations in Paragraphs 1

through 58 as if fully set forth herein.

      60.    This count is brought on behalf of the class.

      61.    Plaintiff is a “consumer” within the meaning of the Magnuson-Moss

Warranty Act, 15 U.S.C. § 2301(3).

      62.    FORD is a “supplier” and “warrantor” within the meaning of the

Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(4) -(5).

      63.    The subject 2011 through 2017 model year Ford Explorers are

“consumer products” within the meaning of the Magnuson-Moss Warranty Act, 15

U.S.C. § 2301(1).

      64.    15 U.S.C. § 2310(d)(1) provides cause of action for any consumer who is

damaged by, among other things, the failure of a warrantor to comply with written

or implied warranties.

      65.    FORD sells and leases its vehicles subject to express warranties which

are written warranties within the meaning of the Magnuson-Moss Warranty Act, 15

U.S.C. § 2301(6). FORD additionally sells and leases its vehicles subject to implied

warranties within the meaning of the Magnuson-Moss Warranty Act, 15 U.S.C. §

2301(7).

      66.    When plaintiff and members of the class operate or drive in their 2011

through 2017 model year Ford Explorers, FORD expressly warranted that the

                                           -18-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 19 of 26 PageID #: 19




vehicles would be free from defects in design, materials and workmanship. FORD

promised to pay for all repairs and parts to remedy defects introduced during the

design and manufacturing process.

      67.    When plaintiff and members of the class operated or drove in their

2011 through 2017 model year Ford Explorers, FORD impliedly warranted that the

vehicles were merchantable, fit for the ordinary purposes for which they were

intended to be used, including the guarantee that they were in a safe and non-

defective condition for use by owners and lessees, and were not otherwise injurious

to operators and passengers. FORD was under a duty to design, construct,

manufacture, inspect and test the vehicles so as to make then suitable for the

ordinary purpose of their use.

      68.    The subject 2011 through 2017 model year Ford Explorers share a

common defect in that they have been designed and manufactured such that

exhaust and other gases, including carbon monoxide, may enter the passenger

compartment of such vehicles during their normal and customary use. FORD is

aware of the defect and has acknowledged the problem of an exhaust odor inside the

passenger compartment of such vehicles by its issuance of TSBs 12-12-4 and 14-

0130. However, TSBs 12-12-4 and 14-0130 do not disclose the presence of carbon

monoxide inside the passenger compartment of the subject vehicles, nor do they fix

the problem of exhaust and other gases entering the passenger compartment.

FORD has breached its express and implied warranties by failing to disclose a life

safety defect in the subject vehicles, by failing to fix the defects in the subject

                                           -19-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 20 of 26 PageID #: 20




vehicles, and by selling or leasing vehicles which are unsafe and unfit for the

ordinary purposes for which they are intended to be used.

      69.    Plaintiff and each of the members of each class have had sufficient

direct dealings with either FORD or its agent fleet representatives to establish

privity of contract between FORD, on the one hand, and Plaintiff and each of the

members of the class, on the other hand. Notwithstanding, plaintiff and each of the

members of the class are the intended beneficiaries of FORD’s express and implied

warranties. The dealers were not intended to be the ultimate consumers of the

subject vehicles and have no rights under the warranty agreements provided by

FORD. FORD’s warranties were designed for and intended to benefit users of these

vehicles.

      70.    Affording FORD, a reasonable opportunity to sure its breach of written

warranties would be unnecessary and futile here. FORD has known, or should have

known, or was reckless in not knowing of its misrepresentations or omissions

concerning the subject vehicles’ defect resulting in exhaust and other gases,

including carbon monoxide entering the passenger compartment of such vehicles.

Notwithstanding, FORD has failed to disclose the existence of this defect and the

risk of carbon monoxide exposure and has failed to rectify the situation. FORD’s

authorized fleet representatives, on information and belief, expressly represent that

no carbon monoxide enters the passenger compartment of the subject vehicles and

that the problem is limited to a non-safety related issue of odor only – a false

representation. Under the circumstances, any requirement that plaintiff afford

                                         -20-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 21 of 26 PageID #: 21




FORD a reasonable opportunity to cure its breach of warranties is excused and

thereby deemed satisfied.

       71.    The amount in controversy of plaintiff’s individual claims meets or

exceeds the sum of $25.00. The amount in controversy of this action exceeds the

sum of $50,000.00, exclusive of interests and costs, computed on the basis of all

repair claims to be determined in this lawsuit.

       72.    Plaintiff, individually and on behalf of the other class members, seek

injunctive relief first, that these vehicles be retrofitted and/or properly repaired so

there are not more harmful gas vapors in the cabins of law enforcement FORD

Explorers for 2011-2017 model years. Plaintiff also requests all damages permitted

by law, including repair cost or injunctive relief requiring adequate repair of these

vehicle in an amount to be proven at trial.

                                COUNT II
                      BREACH OF EXPRESS WARRANTY

       73.    Plaintiff repeats and re-alleges the allegations in Paragraph 1 through

58 as if fully set forth herein.

       74.    This Count is brought on behalf of the class.

       75.    For each defective vehicle sold by FORD, an express written warranty

was issued which covered the vehicle, warranting the vehicle to be free of defects in

materials and workmanship at the time of delivery.




                                          -21-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 22 of 26 PageID #: 22




      76.     FORD had certain obligations under the Uniform Commercial Code as

adapted by all states to conform the subject 2011 through 2017 model year Ford

Explorers to the express warranties given by FORD.

      77.     Plaintiff and members of the class operated or drove in their 2011

through 2017 model year Ford Explorers, FORD expressly warranted that the

vehicles would be free from defects in design, materials and workmanship. FORD

promised to pay for all repairs and parts to remedy defects introduced during the

design and manufacturing process.

      78.     FORD breached its express warranties by offering for sale and selling

or leasing as unsafe, defective vehicles that were by design and construction unsafe,

thereby subjecting occupants of the defective vehicles purchased or leased by

plaintiff and members of the class to the risk of injury or death.

      79.     The defects at issue in this litigation were present in the subject

vehicles at the time of sale or lease to plaintiff and the members of the class.

      80.     The defects at issue in this litigation must be corrected by FORD and

the expenses of such repairs must be borne by FORD, per FORD’s express

warranties.

      81.     FORD breached its express warranties (and continues to breach its

express warranties) because it has not fixed the defects which permit exhaust and

other gases, including carbon monoxide, to enter the passenger compartment of the

subject vehicles, nor has it covered the expenses associated with correcting the

defect.

                                          -22-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 23 of 26 PageID #: 23




       82.    Plaintiff and the members of the class have performed the duties

required of them under the terms of the warranties, except as may have been

excused or prevented by the conduct of FORD or by operation of law in light of

FORD’s conduct described throughout this Complaint.

       83.    Any arbitration or class waiver provisions included in FORD’s express

warranties are substantively and procedurally unconscionable and therefore

unenforceable.

       84.    FORD has received timely notice regarding the problems at issue in

this litigation and notwithstanding, FORD has failed and refused to offer an

effective remedy.

       85.    Plaintiff and the members of the class have suffered damages caused

by FORD’s breach of the express warranties and are entitled to have these vehicles

properly repaired on their behalf.

                                COUNT III
                       BREACH OF IMPLIED WARRANTY

       86.    Plaintiff repeats and re-alleges the allegations in Paragraph 1 through

58 as if fully set forth herein.

       87.    This Count is brought on behalf of the class.

       88.    FORD impliedly warranted that the subject vehicles, which FORD

designed, manufactured, sold or leased, were merchantable, fit for ordinary

purposes for which they were intended to be used, and were not otherwise injurious

to consumers. The ordinary purpose for which the subject vehicles are used is,


                                         -23-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 24 of 26 PageID #: 24




among other things, to drive in a manner that does not unnecessarily and

unreasonably expose occupants to needless harm or risk.

      89.    FORD breached its implied warranty of merchantability when it

designed, manufactured, distributed, sold and leased the 2011 through 2015 model

year Ford Explorer in an unsafe and un-merchantable condition. The subject

vehicles threaten to expose occupants to carbon monoxide and other dangerous

gases while the vehicles are being driven in a normal and customary manner.

      90.    Plaintiff and each of the members of the class have had sufficient

direct dealings with either FORD or its fleet representatives to establish privity of

contract between Ford, on the one hand, and plaintiff and each of the members of

the class, on the other hand. Notwithstanding, privity is not required because

plaintiff and each of the members of the class are the intended beneficiaries of

FORD’s written warranties and its contractual relationship with FORD dealerships.

The fleet representatives and dealers were not intended to be the ultimate

consumers of the subject vehicles and have no rights under the warranty

agreements provided by FORD. FORD’s express warranties were designed for and

intended to benefit the consumers and specifically in this case, end users who are

operators and passengers of the defective vehicles. Plaintiff and the members of the

class were known by FORD to be occupants in these vehicles.

      91.    Plaintiff and the members of the class have suffered damages caused

by FORD’s breach of the implied warranty of merchantability and are entitled to



                                         -24-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 25 of 26 PageID #: 25




recover compensatory damages, including but not limited to the cost of repairs and

having the repairs performed on these vehicles.

                            PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, on his own behalf and on behalf of the class,

respectfully requests judgement against Ford:

      (a) Certifying the class and appointing plaintiff and his counsel to represent

the class.

      (b) Ordering FORD to provide notice to the class of the defect with, among

other things, the design of the vehicles, and/or the exhaust and/or HVAC systems in

the 2011 through 2017 model year Ford Explorers which have been modified for

police use, such that carbon monoxide and exhaust gets into the passenger

compartments of such vehicles during their normal and customary use;

      (c) Ordering FORD to promptly repair and/or replace, without charge, all

subject vehicles to prevent exhaust and other gases, including carbon monoxide,

from entering the passenger compartments of such vehicles;

      (d) Enjoining FORD from selling any more Ford Explorers with a carbon

monoxide issue that exposes law enforcement operators and/or passengers to harm;

      (d) Awarding damages which include, but are not limited to, the cost of any

repairs;

      (e) Awarding pre-judgment and post-judgment interest;

      (f) Awarding attorney’s fees and costs; and

      (g) Awarding such other relief as this Court may deem just and proper.

                                        -25-
Case 2:18-cv-02009-SJF-AYS Document 1 Filed 04/04/18 Page 26 of 26 PageID #: 26




                                  JURY DEMAND

      Plaintiff demands a trial by jury of all issues triable.

Dated: April 4, 2018

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                                          -26-
